  <lt. AO 472 Case
                (Rev.2:15-mj-06234-SCM                  Document 89
                     12/03) Order of Detention Pending Trial                            Filed 01/29/16           Page 1 of 1 PageID: 193

                                            UNITED STATES DISTRICT COURT
                                                                            District of
              UNITED STATES OF AMERICA
                                   v.                                                       ORDER OF DETENTION PENDING TRIAL
  Omar Johnson                                                                          Case         15-6234-SCM-9
                           Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                                      Part I-Findings of Fact
  0      (1    The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(l) and has been convicted ofa              D federal        D sta
               D a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
               D an offense for which the maximum sentence is life imprisonment or death.
               D an offense for which a maximum term of imprisonment of ten years or more is prescribed
                  § 3142(f)(l)(A)-(C), or comparable state odocal offenses.
  0      (2 The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
  0      (3 A period of not more than five years has elapsed since the D date of                    D release of the defendant from imprisonment
            for the offense described in finding (1 ).
  0      (4 Findings Nos. ( 1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
            safety of (an) other person( s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                  Alternative Findings (A)
  0      (1 There is probable cause to believe that the defendant has committed an offense
            D for which a maximum term of imprisonment of ten years or more is prescribed - - - - - - - - - - - - - - - - - -
            0 under 18 U.S.C. § 924(c).
  O      (2 The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
            the appearance of the defendant as required and the safety of the community.
                                                                  Alternative Findings (B)
  0      (1 There is a serious risk that the defendant will not appear.
  0      (2 There is a serious risk that the defendant will endanger the safety of another person or the community.




                                                    Part II-Written Statement of Reasons for Detention
      I find that the credible testimony and information submitted at the hearing establishes by             D   c1ear and convmcmg
                                                                                                                               . . ev1'dence    D a prepon-
  derance of the evidence that~          1'     ~
                        Pr~'\1,1p.Qdlo, ( 01a.·.~



                                                          Part III-Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order a coutt-of-the United-States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the        ant to the United States m    al for the purpose of an appearance
in connection with a court proceeding.                     V                                                          -G/'!!!J,._
                   January 28, 2016
                         Date                              l
                                                                                                     Cathy L. W aldor
                                                                                                   Name and Title ofJuc!J;e
  *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. §
951 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
